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                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
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12   TANYA DAVIS,                            )   Case No.: 2:20-cv-05267-AS
                                             )
13                Plaintiff,                 )   {PROPOSED} ORDER AWARDING
                                             )   EQUAL ACCESS TO JUSTICE ACT
14         vs.                               )   ATTORNEY FEES AND EXPENSES
                                             )   PURSUANT TO 28 U.S.C. § 2412(d)
15   ANDREW SAUL,                            )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,        )   U.S.C. § 1920
16                                           )
                  Defendant                  )
17                                           )
                                             )
18
19         Based upon the parties’ Stipulation for the Award and Payment of Equal
20   Access to Justice Act Fees, Costs, and Expenses:
21         IT IS ORDERED that fees and expenses in the amount of $3,400.00 as
22   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920,
23   be awarded subject to the terms of the Stipulation.
24   DATE: April 29, 2021
25                                       / s / Sagar
                               ___________________________________
                               THE HONORABLE ALKA SAGAR
26                             UNITED STATES MAGISTRATE JUDGE
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